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     UNITED STATES OF AMERICA
15
16                          UNITED STATES DISTRICT COURT

17                          FOR THE DISTRICT OF ARIZONA

18   UNITED STATES OF AMERICA,               No. CR 18-00422-PHX-SPL (BSB)

19             Plaintiff,                      NOTICE OF GOVERNMENT’S FILING OF
                                                RECORDED LIS PENDENS AS TO REAL
20                  v.                        PROPERTY LOCATED PARADISE VALLEY,
                                                            ARIZONA
21   JAMES LARKIN
22             Defendant.
     ______________________________
23
24   James A Larkin and Margaret G.
     Larkin, Trustees of the Ocotillo
25   Family Trust dated June 2, 2008
26             Titleholder.
27
28
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1         Pursuant to Section 405.22 of the California Code of civil
2    Procedure, plaintiff United States of America hereby files with the
3    court a copy of the notice of pendency of action (hereinafter the
4    “Lis Pendens”) which was filed against the defendant real property at
5    the Office of the County Recorder of for Maricopa County, Arizona.       A
6    copy of the Lis Pendens is attached hereto as Exhibit “A”.
7
8    Dated: July 17, 2018                Respectfully submitted,
9                                        ELIZABETH A. STRANGE
10                                       First Assistant United States
                                         Attorney
11                                       District of Arizona
12                                       JOHN P. CRONAN
13                                       Acting Assistant Attorney General
                                         Criminal Division, U.S. Department
14                                       of Justice
15
16                                       _/s/John J. Kucera______________
                                         KEVIN RAPP
17                                       DOMINIC LANZA
                                         MARGARET PERLMETER
18                                       JOHN J. KUCERA
19                                       Assistant U.S. Attorneys

20                                       REGINALD JONES
                                         Senior Trial Attorney
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1                                    CERTIFICATION
2
3        I certify that on     July 17, 2018, I electronically transmitted the
     attached document to the Clerk's Office using the CM/ECF System for
4
     filing and transmittal of a Notice of Electronic Filing to the following
5
     CM/ECF registrants: Anne Chapman, Erin McCampbell, James Grant, Lee
6
     Stein, Paul Cambria, Robert Corn-Revere, Ronald London, Janey Henze
7
     Cook, John Littrell, Kenneth Miller, Thomas Bienart, Jr., Bruce Feder,
8 Michael Kimerer, Rhonda Neff, KC Maxwell, David Wakukawa, Michael
9 Piccarreta, Stephen Weiss.
10
11
     By: s/Shannen Beckman
12
      U.S. Attorney’s Office
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